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     Folsom, CA 95630
 3   Telephone: 916-732-7150
 4   Attorneys for Defendant
 5   Jeremy Gachago

 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
                                                ) Case No.: 2:10 CR 347 MCE
10   UNITED STATES OF AMERICA,                  )
                                                ) STIPULATION AND ORDER
11                Plaintiff,                    ) CONTINUING STATUS CONFERNCE
                                                )
12         v.                                   )
                                                )
13   DISHAN PERERA, et al,                      )
                                                )
14                Defendant.                    )
15         It is hereby stipulated between the parties, Todd Leras, Assistant United States
16   Attorney, Alan Baum, attorney for defendant Dishan Perera, Michael Chastaine, attorney
17   for Jeremy Gachago, Mark Waecker, attorney for defendant Imesh Perera, Shari Rusk,
18   attorney for defendant Torey Moore and Michael Long, attorney for Michael Tran, Olaf
19   Hedberg, attorney for defendant Leonard Woodfork, John Manning, attorney for Navpret
20   Singh, Christopher Hayden-Myer, attorney for Love Sidhu, Mark Rechel, attorney for
21   Navjot Singh, Chris Cosca, attorney for Ramiro Garcia and Dan Koukol attorney for
22   Jason Caviler that the status conference date of Thursday, July 21, 2011 should be
23   continued until Thursday September 15, 2011. The continuance is necessary as all
24   counsel are continuing to engage in negotiations with the government. Further, the
25   government has indicated that it will be providing additional discovery that must be
26   reviewed by the defense.
27   ///
28   ///


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 1         IT IS STIPULATED that the period of time from the July 21, 2011 up to and
 2   including September 15, 2011 be excluded in computing the time within which the trial
 3   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and
 4   Local Code T4, for ongoing preparation of counsel.
 5
 6   Dated: July 7, 2011                     By: ____/s/ Michael Chastaine
                                                   MICHAEL CHASTAINE
 7
                                                   Attorney for Jeremy Gachago
 8
 9   Dated: July 7, 2011                     By: ____/s/ Michael D. Long
                                                   MICHAEL D. LONG
10
                                                   Attorney for Michael Tran
11
12
     Dated: July 7, 2011                     By: ____/s/ Alan Baum
13                                                 ALAN BAUM
14                                                 Attorney for Dishan Perera
15
     Dated: July 7, 2011                     By: ____/s/ Mark Waecker
16                                                 MARK WAECKER
17                                                 Attorney for Imesh Perera
18
     Dated: July 7, 2011                     By: ____/s/ Shari Rusk
19                                                 SHARI RUSK
20                                                 Attorney for Torey Moore

21
     Dated: July 7, 2011                     By: ____/s/ Olaf Hedberg
22                                                 OLAF HEDBERG
23                                                 Attorney for Leonard Woodfork

24
     Dated: July 7, 2011                     By: ____/s/ John Manning
25                                                 JOHN MANNING
26                                                 Attorney for Navpret Singh

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 1   Dated: July 7, 2011                 By: ____/s/ Christopher Hayden-Myer
                                               CHRISTOPER HAYDEN-MYER
 2
                                               Attorney for Love Sidhu
 3
 4   Dated: July 7, 2011                 By: ____/s/ Mark Rechel
 5                                             MARK RECHEL
                                               Attorney for Navjot Singh
 6
 7   Dated: July 7, 2011                 By: ____/s/ Dan Koukol
 8                                             DAN KOUKOL
                                               Attorney for Jason Caviler
 9
10   Dated: July 13, 2011                By: ____/s/ Chris Cosca
11                                             CHRIS COSCA
                                               Attorney for Ramiro Garcia
12
13
     Dated: July 7, 2011                 BENJAMIN B. WAGNER
14                                       United States Attorney
15
                                         By: /s/ Michael Chastaine for Todd Leras___
16                                              Todd Leras
17                                              Assistant U.S. Attorney

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 1                                                         ORDER
 2                          GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
 3                          IT IS HEREBY ORDERED that the status conference scheduled for Thursday,
 4   July 21, 2011 at 9:00 a.m. be continued to Thursday, September 6, 2011 at 9:00 a.m. and
 5   that the period from July 21, 2011 to September 6, 2011 is excludable from calculation
 6   under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7), (8)(A) and local rule T4.
 7   The Court specifically finds that the ends of justice served by taking the action ordered
 8   outweigh the best interest of the public and the defendant in a speedy trial.
 9   Date: 7/15/2011
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12                                                       __________________________________
                                                         MORRISON C. ENGLAND, JR
13                                                       UNITED STATES DISTRICT JUDGE
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15   DEAC_Signatu re-END:




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